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Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 1 of 19

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AT TACOMA
DAPPICK L. HuNyeF, CASE ND. BIB CV- 05149~ BHS- TEC
PLAIWTIFE,
V. PLAINIFE'S OBJEcTloNs To
CHARLES NW. PoHPEE eral. REPoPT AND RECOMMENDATION
DEFENDANTS .

 

 

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5, 2014.

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Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 2 of 19

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Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 3 of 19

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Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 4 of 19

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Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 5.of 19

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Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 6 of 19

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Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 7 of 19

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| Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 8 of 19

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Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 9 of 19

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Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 10 of 19

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- ' Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 11 of 19

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18-cv-05198-BHS Document 43 Filed 05/09/19 Page 12 of 19

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18-cv-05198-BHS Document 43 Filed 05/09/19 Page 13 of 19

Case 3

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18-cv-05198-BHS Document 43 Filed 05/09/19 Page 15 of 19

Case 3

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Case 3

18-cv-05198-BHS Document 43 Filed 05/09/19 Page 16 of 19

 

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Case 3:18-cv-05198-BHS Document 43 Filed 05/09/19 Page 17 of 19

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05198-BHS Document 43 Filed 05/09/19 Page 18 of 19

18-cv-

Case 3

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INTERVIEW SUMMARY

Case Number; NIA

interviewee Name; Tremble, Eugene 716871
investigator Name: Stefa Jensings
interview Date: 5/2516

interview Location: H2 CUS Office

 

The allegations were read to Tremble.

Are the allegations true? Yes

What specifically can you tell me happened?

| can't give you any daies, [ don't remember the dates. I'm sure Hunter documented his
special diel, Rohrer was making him bring a copy of the HSR, and ke accused him of
getting over. Rohrer could have just looked on the computer to get the Information.
When he brought the copy, Rohrer said "You're just playing with me", then Rohrer took
him out te the hatiway and Hunter got walked out of the HUB that day and suspanded.
Another incident we deliver jugs to the back dack, Hunter waived at an AC Diane to
come out fo talk to him, she came out, He didn't go In, she came out. Sgt Rohrer seen
it, | don't know how he found out but | think the Sgf called her and asked what
happened. The Sgt again suspended Hunter and was trying to terminate him.
McCandless one day we were in the chow hall, | noticed Hunter didn't have.any chips in
his lunch. Hunter takes it up fo MeCandless and told him. McCandiess leis fim take
another ona, | told Bim i wouldnt lie tc you, and he said yes you would." Eversinve that ~~
day about 9 months later he doesn't say hello to us or even look at us. We say hella
and he doesn't say anything tous or our crew.

Everything we do they just try to get Us for some reason. They have been trying to get
us out of the shop. They told Sherwood that he needs to recycle the whole crew, get rid
of us. Officer Veal said the crew should be recycled.

Why did he say that? He has had it out for our crew for a long ime. The reason was
told to Sherwood. He told us that we need to be on our best behavior because they
were trying to get rid of us. | haven't had any issues with Sgi Rohrer.

Have you héard any raci remarks frorn the Sgt's? No notme. Sometimes you don't
have ta use words.

We go and clean the EFV's we have to get stripped searched every time we go In after
we clean, wa are not the only anes that go inthe EFV's. There are other crews that go
into the FFV's to fix fights, cabinets, general maintenance but we are the only ones that
get stripped searched. The other crews that go in the EFY's don't get stripped
searched. :

Why do you think that is? | feel itis because we are black, There arent any other black
offenders on any other crews that go in the EFV's. We are the only ones.

Have you ever heard anyone call Sherwood's crew SherHood? ¥es f've heard it.
Sumalt said it We were walking past the recycle area. On the breezeway officers yell &
out, Gan you name the officers? Officers on dayshift, R and M's. Pve heard from some
officers H's not us, its Sherwood they don't fike.

 

Hunter v. Rohrer, et al
DEFS 000335

. Do you also think it is because you're black? No one has ever said that to your face?

 

Can you name the officers? Swope, Burger (young one) He said i's notus ifs
Sherwood. Whatever officer code they have Sherwood doasni fallow it and that is why
they don't like us. A lot of officers act funny towards Sherwood.

What do you mean by funny? Like nat respecting him ag far as staff or a co-worker.
What have you seen them do? Maybe if he was asking theni to open up 4 closet or
something they would make him wait or you can just tell there is something there.

 

No not that that is reason they treat us the way they do.

What have you expertenced yourself when it comes to the claim of discrimination?
What happens to one of us it happens to all of us. Veal suspended us all because we
wore eating tithe staff lunch room. An AC gave us some food because they Were
getting ready to throw it away, il was Joe. We said yes so he gave us some food,
French toast. We got suspended for no reason. ,

‘| got a write up for a dirty UA, | foid the Sgt i don’t da drugs, he just told me to go te tha

hearing. { beat it, he said how cid you baatit, he got an attitude.
What did he do? He got a really nasty looking face and after that things started

* shanging.

How? When we started getting a couple of mere black guys on the crew, There were
only two black guys at that tine then Shenvood hired two more that's when | noticed a
change ii behavior after i got found not gutty and shorty after he hired two more black
guys on the crew. It's 4 differant kind of vibe from being checked on to a different laok
as if we are doing something wrang and they are trying to catch us, wher all we are,
doing Is-warking.

He doesn't call Sherwood he called Idso. Veal didn't ask us what we were doing,

I don't think Sherwoed has gona one month without someone calling him about his craw
doing something wrong or petty. When the phone rings we sit and wonder ok what
happened new.

We had safety glasses thal were tinted and we used them to clean the windows. When
we all put them on to clean the windows, Shenvood got a call to take them all from us.
He got them from the safety officer. We ware walking down the walkway getting ready
to clean the windows in P building someone called Idso and he called Sherwood and
fold us we couldn't have them.

Guys are always asking us man did you guys do now.

How many black offenders do you think work in the HUB area? Can you nama them
all? | would say about 8 or 70. [ don't know all their names. 3 that Sherwoad has,
George works in carpentry, recycling has 2 or 3, plumbing has one, metal shop has one
| think that is it. Thaf's just going off of what i remember from 3 months.

is there anything else you want to tell me that | didn't ask? | was in medical and
Sherwood was up there working dropping off something and he saw me and came to
my room and asked me how | was doing and Officer Swope told him he couldn't talk ta
me and told him to leave. He was trylng to talk to me to ask about the incident repart he |
had to write it was the 15ih of March, The incident.was about my broken jaw that i got
in the unit. | iled and said ! fell at work when really | got hit but | didn’t want to tell on the
person that hit me so E lied and said | fell at work and Sherwood had to write an incident
report about it -

 

 

Hunter v. Rohrer, et al
DEFS 000336
Case 3

18-cv-05198-BHS Document 43 Filed 05/09/19 Page 19 of 19

| attest the above statements are true and accurate fo the best of my knowledge.

interviewee Signature: petecryngen Oe ace E Bina ik atthe: 6 &

Hunter v. Rohrer, et al
DEFS 600337

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Department of

Corrections INTERVIEW ACKNOWLEDGMENT

WASHINGTON STATE

Case Idenilficalion Number: iV / faa . Date of Interview: { a" x } : ie

Name and Title of Interviewee:

    

 
  

(include Title or 00 4 ard Housing Assignment aa appilcable}

Appointing Authorlly! Ai) GAL A a J wee

O

As an interviewee, | haya been Informed of the circumstances under which the Department of Correctllons releases
infermation. By signing this form, | acknowledge that | have been informed that the Information | provide, including my
Idenfity, may be subject fo release by tha Department pursuant to applicable collective bargaining agreements, RoW
49,56 (he Public Records Act}, court order, subpoena, and/or othar legal autharity..

understand that information related to allegations/ineldents of sexual misconduct will only be disclosed to staff when
necassary for related treatment, investigation, and other seourily and management decisions. Breaches of confidentiality
may be subject to corective/diselplinary acdon.

The Department prohisits ratallation against any person because of his/her involvement in the raporting ar Investigation of
a eomplaint. The Department will treat retallation as a separate offensa subject lo investigative, administrative sanctions,
and prosecution. Any concems regarding ratallatlon are to ba reported fo the Appointing Authority.

ao Offender
[understand that this Is an active and ongoing investigation. In order ta protect the Integrity of the investigation, !
understand that discussion of any related Information is to be limited only to persons who have a need ta knaw.

IB Employee/Contract Stafffvoluntesr = - . .

fave been advised this-Interiaw is for Internal administrative purposes anty. | understand frat refusing to cooperate with

the Investigation may result In me being disciplined for Insubordinatlon, up to and Including termination of employment?
volunteer Service or the termination of my‘contract. | acknowledge that | am balng required to fully and honestly answer
all relevant and material questfons relating to my dutles/assignnrant, and that my answers cannot be used against me in
any subsequent criminal preceeding. .

 

(have baen further advised thal this Is an active and ongolng Investigation and that! may not discuss Itwith anyone
- except the Appointing Authority ora Human Resources professional, union rapresentative, legal counsal, or persen with.
whom | fave a legally privileged selatlenship. .

(J Gther

My particiaation in this Interylew Is voluntary, and i understand that | am free Io laave at any time. | have baeradvised
that a witness of my choosing can accompany me during tha Interview at my request. Based on this informaiton, |
consent to participate In this interview.

Dale

 

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Hunter v. Rohrer, at al
DEFS 000338
